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                        Exhibit A
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 A   lb.

 ;_:_t CT Corporation                                                               Service of Process
                                                                                    Transmittal
                                                                                    04/12/2018
                                                                                    CT Log Number 533149236
           TO:     Bob Manzi
                   Clarity Media Group, Inc.
                   555 17th St
                   Denver, CO 80202-3950


           RE:     Process Served in District of Columbia

           FOR: The Washington Newspaper Publishing Company, LLC (Domestic State: DE)




           ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

           TITLE OF ACTION:                    JOSEPH SCHMIDT, Pltf. vs. The Washington Newspaper Publishing Company, LLC,
                                               etc., Dft.
           DOCUMENT(S) SERVED:                 Summons, Complaint, First Set of Interrogatories, First Request, Notice(s)
           COURT/AGENCY:                       FIFTEENTH JUDICIAL CIRCUIT COURT - PALM BEACH COUNTY FLORIDA, FL
                                               Case # 502018CA002509)000(MBA1
           NATURE OF ACTION:                   WASHINGTON EXAMINER's failure to publish a retraction as require by Fla. Stat.
                                               770.02.
           ON WHOM PROCESS WAS SERVED:         C T Corporation System, Washington, DC
           DATE AND HOUR OF SERVICE:           By Process Server on 04/12/2018 at 14:08
           JURISDICTION SERVED:                District of Columbia
           APPEARANCE OR ANSWER DUE:           Within 20 days a after service, exclusive of the day of service (Document(s) may
                                               contain additional answer dates)
           ATTORNEY(S) / SENDER(S):            Jack Scarola
                                               Searcy Denney Scarola Bamhart Et Shipley, P.A.
                                               2139 Palm Beach Lakes Boulevard
                                               West Palm Beach, FL 33409
                                               561) 686-6300
           ACTION ITEMS:                       SOP Papers with Transmittal, via UPS Next Day Air, 1ZX212780118909131

                                               Image SOP

                                               Email Notification, Richard M Jones rick.jones@tac-denver.com

                                               Email Notification, Ceci Oertli ceci.oertli@tac-denver.com

                                               Email Notification, Bob Manzi bmanzi@claritymg.com


           SIGNED:                             C T Corporation System
           ADDRESS:                            1015 15th St NW Ste 1000
                                               Washington, DC 20005-2621
           TELEPHONE:                          202-572-3133




                                                                                    Page 1 of 1 / TI
                                                                                    Information displayed on this transmittal is for CT
                                                                                    Corporation's record keeping purposes only and is provided to
                                                                                    the recipient for quick reference. This information does not
                                                                                    constitute a legal opinion as to the nature of action, the
                                                                                    amount of damages, the answer date, or any information
                                                                                    contained in the documents themselves. Recipient is
                                                                                    responsible for interpreting said documents and for taking
                                                                                    appropriate action. Signatures on certified mail receipts
                                                                                    confirm receipt of package only, not contents.
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                                                               IN THE CIRCUIT COURT OF THE
                                                               FIFTEENTH JUDICIAL CIRCUIT, IN AND
                                                               FOR PALM BEACH COUNTY, FLORIDA.

             JOSEPH SCHMIDT,                                   CASE NO.: 50,2018-CA-002509-XXXX-
                                                               MB-Al
                    Plaintiff,

             vs.

             THE WASHINGTON NEWSPAPER
             PUBLISHING COMPANY LLC d/b/a THE
             WASHINGTON EXAMINER,

                    Defendants.


                                                    g11MM ON S:
           THE STATE OF FLORIDA
           To Each Sheriff of the State:

           YOU ARE COMMANDED to serve this Summons and a copy of the Complaint, Interrogatories,
           Request to Produce and Notice of Taking Videotape Deposition in this action on Defendant:

                                 THE. WASHINGTON NEWSPAPER PUBLISHING
                                 COMPANY LLC d/h/a WASHINGTON EXAMINER
                                  BY SERVING: CT CORPORATION SYSTEMS
                                            1015 15T11 ST. N1000
                                          WASHINGTON DC 20005

           Each Defendant is required to serve written defenses to the Complaint, Interrogatories, Request to
           Produce on Jack Scarola, Esquire and Andrea A. Lewis, Esquire, Plaintiff's attorneys, whose
           address is Searcy Denney Scarola Barnhart & Shipley, P.A., 2139 Palm Beach Lakes Boulevard,
           West Palm Beach, Florida 33409, Within 20 days after service of this Summons on that Defendant,
           exclusive of the day of service, and to file the original of the defenses with the Clerk of Court,
           Palm Beach County Courthouse, Circuit Civil Division, 205 N. Dixie Highway, West Palm Beach,
           FL 33401, either before service on plaintiffs' attorney or immediately thereafter. If a defendant
           fails to do so, a default will be entered against that defendant for the relief demanded in the
           Complaint.

                                    Apr 05 2018
                   DATED on                                    2018.

                                                        CLERK OF THE CIRCUIT COURT (SEAL)

                                                        BY:            ZeZ41*-477c.;..
                                                               Deputy Clerk S.HANNON FATU




(LED: PALM BEACH COUNTY, FL, SHARON R. BOCK, CLERK, 04104/2018 05:04:41 PM
Case 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 4 of 63




       Schmidt, Joseph vs. The Washington Newspaper Publishing Company 1..1..0 dib/a Washington Examiner
       Case No.: 50-2018-CA-002509-XXXX-MB-A1
       Summons - The Washington Newspaper Publishing Company I,LC dib/a Washington Examiner
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                               AMERICANS WITH DISABILITIES ACT

          "If you are a ,person with a disability who needs any accommodation in
          order to participate in this proceeding, you are entitled, at no cost to you,
          to the provision of certain assistance. Please contact Tammy Anton,
          Americans with Disabilities Act Coordinator, Palm Beach County
          Courthouse, 205 North Dixie Highway West Palm Beach, Florida 33401;
          telephone number (561) 355-4380 at least 7 days before your scheduled
          court appearance, or immediately upon receiving this notification if the
          time before the scheduled appearance is less than 7 days; if you are
          hearing or voice impaired, call 711."

          "Si usted es una persona min usvalida que necesita algiin acomodamiento
          para poder participar en este procedimiento, usted time derecho, sin
          tencr gastos propios, a que se le provea cierta ayuda.              Tenga la
          amabilidad de ponerse en contacto con Tammy Anton, 205 N. Dixie
          Highway, West Palm Beach, Florida 33401; telefono mimero (561) 355-
          4380, por lo Menos 7 dias antes de la cita fijada para su. comparecencia
          en los tribunales, o inmediatamente despues de recibir esta notificacion
          si el tiempo antes de la comparecencia que se ha programado es menos
          de 7 dias; si usted tiene discapacitacion del oido o de la voz, Ilame at 711."

          "Si ou se yon moun_ki enfim ki bezwen akomodasyon pou w ka patisipe
          nan pwosedi sa, ou kalifyc an ou pa gen okenn lajan pou w peye, gen
          pwovizyon pou jwen kik ed. Tanpri kontakte Tammy Anton, koodonate
          pwogrmn Lwa pou ameriken ki Enfim yo nan Tribinal Konte Palm Beach
          la ki nan 205 North Dixie Highway, West Palm Beach, Florida 33401;
          telefon Ii se (561) 355-4380 nan 7 jou anvan dat on gen randevou pou
          par& nan tribinal la, oubyen imedyatman apre ou fin resevwa
          konvokasyon an si le ou gen pou w park nan tribinal la mwens ke 7 jou;
          si on gen pwoblem pou w tande oubyen pale, rele 711."
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                                                             IN THE CIRCUIT COURT OF THE
                                                             FIFTEENTH JUDICIAL CIRCUIT FOR
                                                             PALM BEACH COUNTY, FLORIDA

          JOSEPH SCHMIDT,                                   CASE NO.: 50-2018-CA-002509-XXXX-
                                                            MB-Al
                      Plaintiff.
          VS.

          THE WASHINGTON NEWSPAPER
          PUBLISHING COMPANY LLC d/b/a
          WASHINGTON EXAMINER,

                      Defendant.


                                          ,AMENDED.COMPLAINT,

                Plaintiff, JOSEPH SCHMIDT, by and through the undersigned attorneys and sues

         Defendant, THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/bia

         WASHINGTON EXAMINER, a Foreign Corporation, and alleges: •                 •

                                      PARTIES. JURISDICTION, AND VENUE

                1.     This is an action for damages in excess of $15,000, exclusive of interest, costs, and

        attorneys' fees.

                       Defendant THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC

        d/b/a WASHINGTON EXAMINER is a Foreign Corporation. The principal address of the

        corporation is 1152 15`h St. Northwest Suite 200, Washington, DC 20005. THE WASHINGTON

        NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER. is a digital

        and print news publication that has subscribers and readers all over the nation, including in Palm

        Beach County, Florida.

                3.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER regularly conducts business in Palm Beach County, Florida.
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               4.      THE WASHINGTON NEWSPAPER PUBLISHING COMPANY 'LLC d/b/a

        WASHINGTON EXAMINER published a photo of JOSEPH SCHMIDT in a highly defamatory

       article. Above JOSEPH SCHMIDT's photo, THE WASHINGTON NEWSPAPER PUBLISHING

       COMPANY LLC d/b/a WASHINGTON EXAMINER wrote the words ."Navy SEAL charged

       with making child porn." Below JOSEPH SCHMIDT's photo, THE WASHINGTON

       NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER wrote the

       words "His phone had photos showing molestation of a sleeping prepubescent minor and a trove

       of other children in sex actsf.:1" This article was seen by readers in Palm Beach County, Florida.

               5.      The highly defamatory article published by THE WASHINGTON NEWSPAPER

       PUBLISHING. COMPANY LLC d/b/a. WASHINGTON EXAMINER was subsequently

       republished by multiple media outlets. One of the major media outlets that ran the story is

       . headquartered in Palm Beach County, Florida.

               6.      The Plaintiff, :JOSEPH SCHMIDT, is a resident of San Diego County, California.

               7.      Venue is proper in Palm Beach County, Florida, because the Defendant conducts

       business in Palm Beach County, Florida. Additionally, the Defendant has subscribers and readers

       in Palm Beach County, Florida. After seeing THE WASHINGTON NEWSPAPER PUBLISHING

       COMPANY LLC d/b/a WASHINGTON EXAMINER's story, a media outlet located in Palm

       Beach Counry, Florida ran THE WASHINGTON NEWSPAPER PUBLISHING COMPANY

       LLC d/b/a WASHINGTON EXAMINER's article With the photo of JOSEPH SCHMIDT.
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                                               PENER4L-ALLEGAT16NS

               I.       Background

               8.      Leading Chief Petty Officer of the Special Operations Command 'JOSEPH

        SCHMIDT ("Officer Schmidt") is a highly-decorated Navy SEAL who has proudly served this

        country for the last 23 years.

               9.      Officer Schmidt is active duty in SEAL Team 1 based out of San Diego County,

       California. He lives with his wife and children.

               10.     Officer Schmidt has an exemplary military record and he has received numerous

       commendation medals. Officer Schmidt has received a citation of valor for combat overseas and

       he was named the "sailor of the Year" in both 2009 and 2011. Officer Schmidt has also been

       awarded the Army Commendation Medal, the Navy and Marine Corps Commendation Medal with

       Valor (two times), the Navy and Marine Corps Achievement Medal (seven times), the Combat

       Action Ribbon, the Navy Good Conduct Medal (five times), and the Initructor of the Quarter in

       2008 and 2009.

               11.     Officer Schmidt was deployed to active combat in 2002 and 2003.

               12.      Officer Schmidt works with the Make a Wish Foundation and regularly visits

       hospitals to lift the spirits of gravely ill children. In addition to his work in the community as a

       SEAL, Officer Schmidt spends a significant amount of his free time volunteering at his children's

       school and working with underprivileged kids. He also created aTrogram called Navy Seal Scout

       Team that has been instituted in many different schools to motivate and assist local youth. Put

       simply, Officer Schmidt has dedicated his life to serving others.
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                IL      The Washington Newsnaner Publishing Comnanv 1,1_,C d/b/a Washington
                        Examiner Article

               13.      On April 21, 2017, THE WASHINGTON NEWSPAPER PUBLISHING

        COMPANY LLC d/b/a WASHINGTON EXAMINER wrote a story about a Navy SEAL who had

        been charged with committing absolutely heinous crimes against children and engaging in

        bestiality. For reasons yet to be determined, THE WASHINGTON NEWSPAPER PUBLISHING

       COMPANY 1,I,C d/bia WASHINGTON EXAMINER recklessly published the story with a photo

       of Officer Schmidt instead of a photo of the actual predator.

               14.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

       WASHINGTON EXAMINER placed a large headline over the photo of Officer Schmidt that read

       "Navy SEAL charged with making child porn" Below Officer Schmidt's photo, THE

       WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

       EXAMINER wrote the words "His phone had photos showing molestation of a sleeping

       prepubescent minor and a trove of other children in sex acts..."

               15.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

       WASHINGTON EXAMINER published Officer Schmidt's photo on the homepage of THE

       WASHINGT014 NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

       EXAMINER's website with the headline 'Wavy SEAL charged with making child porn" printed

       over his photo. THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

       WASHINGTON EXAMINER placed a caption below Officer Schmidt's photo on thc homepage

       of its website which read "His phone had photos showing molestation of a sleeping prepubescent

       minor and a trove of other children in sex acts..."
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                16.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER touts that it has Millions of readers who visit the homepage of its

       website each day.

               17.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

       WASHINGTON EXAMINER intended for the shocking allegations and headline to entice readers

       to read the full article. THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC

       d/b/a WASHINGTON EXAMINER placed a link to the full article under Officer Schmidt's photo

       and statements accusing Officer Schmidt of sexually abusing small children.

               18.     Once the reader followed the link, the fidl story with Officer Schmidt's photo pulled

       up with additional details and even more disgusting allegations.

               19.     The full story detailed perverse acts committed by a sexual predator. and former

       Navy SEAL from Virginia Beach—someone that Officer Schmidt 'did not even know. The facts

       of the story include grotesque and horrific allegations accusing Officer Schmidt of sexually

       molesting a "prepubescent minor" and raping a woman. THE WASHINGTON NEWSPAPER

       PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER accused Officer Schmidt of

       taking videos of himself sexually assaulting children and possessing a "trove of other photos of

       children in sex acts." Later versions of the story run also stated that Officer Schmidt had engaged

       in bestiality by having sex with a dog. •

              90.      A reasonable person Who saw the publication would logically assume that Officer

       Schmidt had been "Charged with making child porn" and "had photos showing molestation of a

       sleeping prepubescent minor and a. trove of other children in sex acts[.]" Further, readers would
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         Schmid:, Joseph vs. The 'Washington Newspaper Publishing Company, LLC d/b/a Washington Examiner
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        believe that the horrific acts outlined in the body of the article had also been committed by Officer

        Schmidt.

                11.      Officer Schmidt has never engaged in any of the abhorrent acts described in the

        article—nor had he ever previously been suspected or accused of such things. Through no fault of

        Officer Schmidt, THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC &lila

        WASHINGTON EXAMINER's negligent and sloppy reporting falsely identified him as the face

        of a child predator and rapist.

                22.     THE WASHINGTON NEWSPAPER PUBLISHING COMP.4NY LLC ft:a

        WASHINGTON EXAMINER's article quickly spread all over the interne. Trusting that THE

        WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

        EXAMINER had done its homework arid associated the correct photo to its article identifying a

        child sex predator, multiple media outlets followed suit and published Officer Munich's photo on

        their websites. Within a few minutes, the article—and Officer Schmidt's photo—went viral and

        were being viewed by people all over the world.. Multiple media outlets in Officer Schmidt's

        community ran the story with his photo attached as a direct consequence of THE WASHINGTON

        NEWSPAPER PUBLISHING COMPANY LLC dibla WASHINGTON EXAMINER's egregious

        error. As a result, Officer Schmidt's reputation, built through a lifetime of military and community

        service, was smeared in his community and throughout the world.

               23.      Readers of the article called Officer Schmidt a "child molester," a "sicko," and a

       "predator." They called for him to be killed and locked in prison. As the article began to spread on

       Facebook, the comments got even more sickening and violent.
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                  94. After some time passed, THE WASHINGTON NEWSPAPER PUBLISHING

        COMPANY LLC dibia WASHINGTON EXAMINER realized that they posted the photo of a

        highly decorated military hero to its article and publically accused him of countless unspeakable

        crimes. Nevertheless, THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC
                                      •

        dibia WASHINGTON EXAMINER did not even bother to print a retraction or tell its readers that

        its inexcusable blunder falsely identified an innocent man.

                  25.   Officer Schmidt and his family began getting calls from friends and acquaintances

        asking if the allegations that THE WASHINGTON NEWSPAPER PUBLISHING COMPANY

        LLC d/bla WASHINGTON EXAMINER had lodged against him were true. The Schmidt family

        was terrified to go outside for fear that someone would actually make good on their threats. Officer

        Schmidt called NCB, the FBI, and the local police to warn them about the article and tell them

        that he and his family may need protection at their home. The Schmidt family was approached by

        people from their suburban neighborhood and at their son's middle school asking them about the

        child rape allegations and questioning why he was not in jail.

                  26.   After reading all of the death threats, Officer Schmidt bought a security camera

        system for his home and did not leave his home without a fireman. Officer Schmidt and his wife

        continue to live in fear. They Were forced to sell their home and transfer their son to a different

        school.

                  27.   Officer Schmidt's reputation has been forever tarnished by the 'outrageous

        allegations that were lodged against him by THE WASHINGTON NEWSPAPER PUBLISHING

        COMPANY LLC &IA WASHINGTON EXAMINER.
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               28.     Further, Officer Schmidt's photo is still associated with disgusting intemet search

        terms to this day. As a result of the reckless errors of THE WASHINGTON NEWSPAPER

        PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER, Officer Schmidt's photo is

        still .One of the top results appearing in response to intemet searches for "navy seal child rape",

        "military child rape" and "navy seal child porn."

               29.     Like the people commenting on THE WASHINGTON NEWSPAPER

        PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER article, Officer Schmidt

        agrees that child rapists are truly the most despicable people in our society. Being accused of

        something so heinous has had a profound effect on Officer Schmidt and caused him severe mental

        anguish, emotional distress, and anxiety.

               30.     On July 26, 2017, Officer Schmidt contacted THE WASHINGTON

        NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER and

        demanded that a retraction be printed within 24 hours. THE WASHINGTON NEWSPAPER

       PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER did not even bother to

       respond to the request. To date, THE WASHINGTON NEWSPAPER PUBLISHING COMPANY

       LLC d/b/a WASHINGTON EXAMINER has never printed a retraction or even apologized to

       Officer Schmidt.

              COUNT I — DEFAMATION AGAINST THE WASHINGTON-NEWSPAPER
              — PUBLISHING-COMPANY LLC d/b/a WASHINGTON EXkMINER----

              31.     Plaintiff, Officer Schmidt, incorporates paragraphs 1 to 30 as if each were fully set

       out in this Count.
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               - 32. THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER published false and defamatory statements with Officer Schmidt's

        photo and published it to millions of its readers.

                33.    THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER article, its contents, and associated photo were not priviimed in

        any manner.

               34.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAM1NER's written statements associated with Officer Schmidt's photo were

        made with reckless disregard for their truth or falsity and with legal malice. Malice can be inferred

        from THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER's failure to publish a retraction .as require by Fla. Stat. § 770.02.

        These statements are completely false and extremely defamatory. Officer Schmidt's reputation

        was damaged by the false allegations lodged by THE WASHINGTON NEWSPAPER

        PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER.

               35.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER negligently published Officer Schmidt's photo on an article

       identifying him as the perpetrator of heinous crimes that he did not commit.

               36.    THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

       WASHINGTON EXAMINER knew or should have known that Officer Schmidt did not commit

       any of the crimes that THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC

       d/b/a WASHINGTON EXAMINER accused him of committing in the article.
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                37.     Officer Schmidt is a private individual and not a public figure.

                38.     THE WASHINGTON NEWSPAPER PUBLISHING. COMPANY LLC d/b/a

        WASHINGTON EXAMINER's false statements accusing Officer Schmidt of committing the

        crimes outlined above are libel per se.

                39.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER's publication of the statement along with Officer Schmidt's photo

        has falsely tainted and permanently damaged Officer Schmidt's reputation.

                40.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER's publication of the statement along with Officer Schmidt's photo

        has caused Officer Schmidt severe mental and emotional, distress and anxiety.

                41.     As a direct and proximate result of the publication of these defamatory statements

        and Officer Schmidt's photo, Officer Schmidt has suffered economic and noneconomic losses, lost

        wages, damage to reputation, mental anguish, inconvenience, loss of capacity for the enjoyment

        of life, personal humiliation, expense of medical care and treatment, and aggravation of a

        previously existing condition. The losses are permanent and continuing and Plaintiff will suffer

        the losses in the future.

                WHEREFORE, Officer Schmidt demands judgment in his favor and against THE

       WASHINGTON NEWSPAPER PUBLISIIING COMPANY LLC d/b/a WASHINGTON

       EXAMINER for:

                       a.       An award of all compensatory damages that Officer Schmidt has suffered

                                in the past and will suffer in the future, including incidental and
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                                 consequential damages resulting from. THE WASHINGTON

                                 NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

                                 EXAMINER's publication in an amount to be determined at trial,

                        b.       An award of prejudgment and post-judgment interest;

                        c.       An award of all costs and expenses Officer Schmidt has incurred and will

                                incur in this action; and,

                        d.      An award of such other relief this Court may deem just, equitable and.

                                proper.

                                    COUNT IL—DEFAMATION BY IMPLICATION

                4/.     .Plaintiff, Officer Schmidt, incorporates paragraphs 1 to 30 as if each were fully set

        out in this Count.

                43.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER recklessly published a photo of Officer Schmidt with the headline

        "Navy SEAL charged with making child porn" written above it. Below Officer Schmidt's photo;

        THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

        EXAMINER wrote the words "His phone had photos showing molestation of a sleeping

        prepubescent minor and a trove of other children in sex acts..."

               44.     A reasonable person who saw the publication would logically assume that Officer

        Schmidt had been "charged with making child porn" and "had photos showing molestation of a

       sleeping prepubescent minor and a trove of other children in sex acts..." Further, readers would
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        believe that the horrific acts outlined in the body of the article had also been committed by Officer

        Schmidt.

                45.     The article under his photo detailed heinous allegations of sexual abuse against

        women, children and animals.

                46.     The article would clearly lead the reader to believe that Officer Schmidt was a rapist

        and child sex predator.

               47.      THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER acted in reckless disregard as to the falsity of the publicized matter

        and the false light in which Officer Schmidt would be placed.

               48.     Any reasonable person would be seriously offended and agerieved by the publicity,

        invasion of privacy and being associatedwith such vile conduct.

               49.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER's publication of the statement along .with Officer Schmidt's photo

        has falsely tainted and permanently damaged Officer Schmidt's reputation.

               50.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER's publication of the statement along with Officer Schniides photo

        has caused Officer Schmidt severe mental and emotional distress and anxiety.

               51.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER omitted the fact that Officer Schmidt was an innocent man and had

       never been accused or suspected of being a child predator or abuser.
Case 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 17 of 63




        AMENDED COMPLAINT
        Schmidt Joseph vs. The Washington Newspaper Publishing Company, LLC dibra Washington Examiner
        Case No.: 50-2018-CA-002509-XXXX-MB-Al
        Pan 13 of 16

                52.     As a direct and proximate result of the publication of these defamatory statements

        and Officer Schmidt's photo, Officer Schmidt has suffered economic and noneconomic losses, lost

        wages, damage to reputation, mental anguish, inconvenience, loss of capacity for the enjoyment

        of life, personal humiliation, expense of medical care and treatment, and aggravation of a

        previously existing condition. The losses are permanent and continuing and Plaintiff will suffer

        the losses in the future.

                WHEREFORE, Officer Schmidt demands judgment in his favor and against THE

        WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

        EXAMINER for:

                       a.       An award of all compensatory damages that Officer Schmidt has suffered

                                in the past and Will suffer in the future, including incidental and

                                consequential damages resulting from THE WASHINGTON

                               NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

                               EXAM1NER's publication in an amount to be determined at trial;

                       b.      An award of pre-judgment and post-judgment interest;

                       c.      An award of all costs and expenses Officer Schmidt has incurred and will

                               incur in this action; and,

                       d.      An award of such other and further relief this Court may deem just,

                               equitable and proper.
Case 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 18 of 63




        AMENDED COMPLAINT
        Schmidt, Joseph vs. The Washington Newspaper Publishing Company, LLC &Ix% Washington Examiner
        Case No.: 50-2018-CA-002509-XXXX-MB-Al
        Page 14 of 16

                          COUNT
                             _
                                111
                                .
                                    — INFLICTION OF EMOTIONAL DISTRESS

                53.     Plaintiff, Officer Schmidt, incorporates paragraphs 1 to 30 as if each were fully set

        out in this Count.

                54.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/bia

        WASHINGTON EXAMINER recklessly inflicted mental suffering on Officer Schmidt by

        attaching his photo to accusations and an article that were highly defamatory and accused him of

        committing horrific sex crimes against children, women and animals and published it for millions

        of people to see. THE WASHINGTON NEWSPAPER. PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER was reckless when it published the photo and failed to research the

        story or the identity of Officer Schmidt before publishing his photo on an article about a man who

        committed crimes against women, children and animals.

                55.    THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC dibia

        WASHINGTON EXAMINER knew or should have known that posting the photo with such an

        outrageously defamatory headline, caption and/or article would likely cause emotional distress.

               56.     Publishing an innocent person's photo on an article which would lead a reasonable

        person to believe that the individual was a rapist and child sex predator is outrageous and atrocious

        conduct. Failing to identify the individual in the photo before attaching their face to the story is

       shameful and shocking.

               57.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/bia

        WASHINGTON EXAMINER'S conduct and its publication of the photo and article caused Officer

       Schmidt severe emotional distress.
Case 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 19 of 63




        AMENDED COMPLAINT
        Schmidt, Joseph vs. The Washington Newspaper Publishing Company, LLC clibia Washington Examiner
        Case No.: 50-2018-CA-002509-XXXX-MB-AI
        Page 15 of 16

                58.     The article would clearly lead the reader to believe that Officer Schmidt was a rapist

        and child sex predator.

                59.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER's publication of the statement along with JOSEPH SCHMIDT's

        photo has falsely tainted and permanently damaged Officer Schmidt's reputation.

                60.     THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER' s publication of the statement along with Officer Schinidt's photo

        has caused Officer Schmidt severe mental and emotional distress and anxiety.

                61.     As a direct and proximate result of the publication of these defamatory statements

        and Officer Sclunidt's photo, Officer Schmidt has suffered economic and noneconomic losses., lost

        wages, damage to reputation, mental anguish, inconvenience, loss of capacity for the enjoyment

        of life, personal humiliation, expense of medical care and treatment, and aggravation of a

        previously existing condition. The losses are permanent and continuing and Plaintiff will suffer

        the losses in the future.

               WHEREFORE, Officer Schmidt demands judgment in his favor and against THE

        WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

       EXAMINER for:

                       a.       An award of all compensatory damages that Officer Schmidt has suffered

                               in the past and will suffer in the future, including incidental and

                               consequential damages resulting from THE WASHINGTON
Case 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 20 of 63

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             AMENDED COMPLAINT
             Schmidt; Joseph vs. The Washington Newspaper Publishing Company, LLC cl/hia Washington Examiner
             Case No.: 50-201.8-CA-002509-XXXX-MB-A1
            ,Page 16 of 16

                                    NEWSPAPER PUBLISHING COMPANY LLC d/bia WASHINGTON

                                    EXAMINER's publication in an amount to be determined at trial;

                            b.      An award of pre-judgment and. post-judgment interest;

                            c.      An award of all costs and expenses Officer Schmidt has incurred and will

                                    incur in this action; and,

                            d.      An award Of such other and further relief this Court may deem just,

                                    equitable and proper.

                                               DEMAND FOR JURY TRIAL

                   Plaintiff, JOSEPH SCHMIDT, hereby demands trial by jury on all issues so triable.

                   DATED this 4th of April, 2018.                                           7

                                                                               4c.
                                                            JACK.
                                                            Florida Bar No.: 169440
                                                            Primary E-Mail: _scarolateam®searcylaw.com
                                                            ANDREA A. LEWIS
                                                            Florida Bar No: 8533.1
                                                            Primary E-Mail: _terryteam@searcyla,w.com
                                                            Searcy Denney Scarola Barnhart & Shipley, P.A.
                                                            2139 Palm Beach Lakes Boulevard
                                                            \Vest Palm Beach, Florida 33409
                                                            Phone: (561) 686-6300
                                                            Attorneys for Plaintiff
Case 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 21 of 63



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                                                         IN THE CIRCUIT COURT OF THE
                                                         FIFTEENTH JUDICIAL CIRCUIT, IN AND
                                                         FOR PALM BEACH COUNTY, FLORIDA.

         JOSEPH SCHMIDT,                                 CASE NO.: 50-2018-CA-002509-XXXX-
                                                         MB-Al
                Plaintiff,
         VS.

         THE WASHINGTON NEWSPAPER
         PUBLISHING COMPANY LLC d/b/a THE
         WASHINGTON EXAMINER,

                Defendant.


           NOTICE ORSERVING FIRST SET OF INTERROGATORIES .TO DEFENDANT,
             THEIVASHINGTONNEWSPAPER PUBLISHING COMPANY.LLC:_D/B/A
                              WASHINGTON EXAMINER

               Plaintiff, JOSEPH SCHMIDT, hereby gives notice that pursuant to Rule 1.340(e), Florida

        Rules of Civil Procedure, that Interrogatories numbered 1 through 14 have been directed to

        Defendant, THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a

        WASHINGTON EXAMINER.

               I HEREBY CERTIFY that a true and correct copy of the foregoing have been served with

        the Summons and Amended Complaint.

                                                                     Az1
                                                                       —
                                           JACK SCAROT.,A
                                           Florida Bar No.: 169440
                                           Primary E-Mail: _sdarolateam@searcylaw.corn
                                           ANDREA A. LEWIS
                                           Florida Bar No.: 85331
                                           Primary E-Mail: terrvteam@,searcvlaw.cnm,.,
                                           Searcy Denney Scarola Barnhart & Shiplei: P.A.
                                           2139 Palm Beach Lakes Boulevard
                                           West Palm Beach, Florida 33409
                                           Phone: (561) 686-6300
                                           Attorney for Plaintiff
Case
 a   9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 22 of 63




        Notice of Serving First Set of interrogatories to Defendant
        Schmidt vs. The Washington Newspaper Publishing Company LLC dib/a Washington Examiner
        CASE NO.: 50-201 S-CA-0025.09-XXXX-MB-Al
        Page 2 of 6

             ,INTERROGATORIES.TO DEFENDANT. THE WASHINGTON NEWSPAPER
                — PUB! ISHING COMPANY Lik.: d/b/a WASHINGTON                               L'iER

               1.      What is the name and address of the person answering these interrogatories, and, if
               applicable, the person's official position or relationship with the party to whom the
               interrogatories are directed?

                       ANSWER:




               2.      Please identifY by name, address and employment position all agents and
               employees of the Defendant who had any involvement in researching, composing,
               reviewing and approving for publication, the headline; story, photograph and caption that
               are the subject of this action.

                       ANSWER:




               3.      As to each individual identified in response to Question 42, state the following:

                       a)      The dates of the individual's initial employment by the Defendant;

                               ANSWER:

                       b)      The position into which the individual was initially hired, a descriptio:n of
                       the person's duties when initially hired, the date and nature a all changes in the
                       person's job title and all changes in the persons duties;

                               ANSWER:

                       c)     A detailed description of all - involvement the individual had in researching,
                       composing reviewing and approving for publication, the headline, story,
                       photograph and caption included in the article that is the subject of this action.

                               ANSWER:
Case
  • 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 23 of 63




        Notice of Serving First Set of Interrogatories to Defendant
        Schmidt vs. The Washington Newspaper Publishing Company LLC d/b/a Washington Examiner
        CASE NO.: 50-2018-CA-002509-XXXX-MB-Al
        Page 3 .of 6

                       d)       When, how, why and. by whom any modification was made to the subject
                       article.

                               ANSWER:


               4.      Describe in. detail the process by which the photograph included in the subject
               article was located for inclusion in the subject article.


                       ANSWER:




               5.     Describe in detail when, how and by whom the determination was made that the
               photograph was not an image of the perpetrator of the conduct reported in the article..


                       ANSWER:




               6.     Described in etail all actions taken to address the erroneous inclusion of the
               photograph of the Plaintiff; including when, why and: by whom the action was taken.


                       ANSWER:




              7.      Identify by name and position all agents and employees who had any participation
              in receiving a request for a retraction, on behalf .of the Plaintiff and describe in detail the
              role played by each in the decision as to whether and how to respond to that request.


                      ANSWER:
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        Notice of Serving First Set of Interrogatories to Defendant
        Schmidt vs. The Washington Newspaper Publishing Company LLC dib/a Washington Examiner
        CASE NO.: 50-2018-CA-002509-XXXX-M13-M
        Page 4 o16

                 8.       Described in detail why a retraction was never published by the Defendant.


                          ANSWER:




                9.      Describe in detail the date and substance of every article and photograph ever
                published by the Defendant which included the name, image, or any reference to the
                Plaintiff.


                         ANSWER:




                10. Describe in detail all of the websites and/or social media sites where the Defendant
                posted the article while using the Plaintiff's photo.

                         ANSWER:




               11. How many recorded views did the article receive. while it was posted on THE
               WASHINGTON NEWSPAPER PUBLISHING COMPANY LL.0 dibla WASHINGTON
               EXAMINER'S website With the Plaintiff's photo attached?

                        ANSWER:
Case 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 25 of 63




        Notice of Serving First Set of Interrogatories to Defendant
        Schmidt vs. The Washington Newspaper Publishing Company 1..1.,C dibi'a Washington Examiner
        CASE NO.: 50-201 8-CA-002509-XXXX-MB -A1
        Page 5 of 6

                12.     Did THE WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a
                'WASHINGTON EXAMINER share the Plaintiff's photo on any of its social media sites
                related to this article? If so, specifically identify which sites, what the posting said, and
                how many views each post received.

                        ANSWER:




                13.     What time specifically did THE WASHINGTON NEWSPAPER PUBLISHING
                COMPANY LLC d/b/a WASHINGTON EXAMINER publish the article with. the
                Plaintiffs photo and what time was it taken down?

                        ANSWER:




               14. I-low many people visited- the homepage of THE WASHINGTON NEWSPAPER
               PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER'S webSite during
               the time period described in Question #13?

                       ANSWER:
    Case 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 26 of 63
•




            Notice of Serving First Set of Interrogatories to Defendant
            Schmidt vs. The Washington Newspaper Publishing Company LLC: d/b/a Washington Examicer
            CASE NO.: 50-2018-CA-002509-XXXX-MB-A1
            Page 6 of 6.




            STATE OF

            COUNTY OF


                     The foregoing inStrument was acknowledged before me this                           day of

                                     20   , by .                                 . who is personally known to

            me or who has produced                                            as identification and who did didt

            not take an oath.




            (SEAL)


           (Notary signature)



                        —
           (Notary 'tante print)
           NOTARY PUBLIC, State of Florida


           (Serial number, if any)
Case 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 27 of 63



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                                                          IN THE CIRCUIT COURT OF THE
                                                          FIFTEENTH JUDICIAL CIRCUIT, IN AND
                                                          FOR PALM BEACH COUNTY, .FLORIDA.

                                                          CASE NO.: 50-2018-CA-002509-XXXX-MB-
                                                          AI
         JOSEPH SCHMIDT,

                        Plaintiff,

         vs.


         THE WASHINGTON NEWSPAPER
         PUBLISHING COMPANY LLC d/b/a
         WASHINGTON EXAMINER,.

                        Defendant.


                PLAINTIFF'S FIRST REOUEST FO PRODUCE TO DEFENDANT THE
                   WASHINGTON_NEWSPAPER PUBLISHING COMPANY LLC
                               &Wit WASHINGTON EX.4.MINER

               Plaintiff, JOSEPH SCHMIDT, by and through the undersigned counsel, request, pursuant

        to Rule 1.350 of the Florida Rules of Civil Procedure, that Defendant, THE WASHINGTON

        NEWSPAPER PUBLISHING COMPANY LLC d/b,ia WASHINGTON EXAMINER, produce

        and permit Plaintiffs Counsel to inspect and copy each of the following documents*:

               I.     Any and all versions of the article titled "NCIS: Navy SEAL Possesses and

        Produced Child Porn on Phone:"

               2.     Any and all comments on the article titled "NCIS: Navy SEAL Possesses and

        Produced Child Porn on Phone," including comments made on .Facebook, Instagram and/or THE

        WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

        EXAMINER' s website.
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        Request to Produce to Defendant, The Washington Newspaper Publishing Company LLC able Washington
        Examiner
        Schmidt, Joseph vs. The Washington Newspaper Publishing Company 1..LC d/b/a Washington Examiner
        Case No.: 50-2018-CA-002509-XXXX-MB-Al
        Page 2 of 3

               3.      Any and all documents showing the amount of time the article titled "NCIS: Navy

        SEAL Possesses and Produced Child Porn on Phone" was published on THE WASHINGTON

        NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER website.

               4.      Any artd all documents showing the amount of people who visited THE

        WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

        EXAMINER website on April 21, 2017, including a breakdown of user traffic by hour.

               5.      Any and all internal emails andior other communications discussing Joseph

        Schmidt or the article "NCIS: Navy SEAL Possesses and Produced Child Porn on Phone."

               6.      Any and all marketing and advertising materials in use by THE WASHINGTON

        NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER in April of

       2017. Specifically, the Plaintiff is requesting. all materials that the Defendant provided to third

       parties looking to advertise on THE WASHINGTON NEWSPAPER PUBLISHING COMPANY

       LLC d/b/a WASHINGTON EXAMINER website or printed publications.

               7.      Reports, documents, memorandums, notes, and witness statements that are in

       anyway related to this case or the article "NCIS: Navy SEAL Possesses and Produced Child Porn

       on Phone."

              "Doduments" shall include, but not be limited to all non-identical copies of writings, •

       drawings, graphs, charts, photographs, phono-records, recordings, and/or any other data

       compilations from which information can be obtained,' translated, if necessary, by the party to

       whom the request is directed through detection devices into reasonably usable form. "Documents"
  • 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 29 of 63
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          Request to Produce to Defendant, The Washington Newspaper Publishing Company LLC clibia Washington
          Examiner                             •
          Schmidt, Joseph vs. The Washington Newspaper Publishing Company LLC dibla Washington Examiner
          Case No.: 50-2018-CA-002509-XXXX-MB-Al
          Page 3 of 3

          also include all electronic data as well as application metadata and system metadata. All

          inventories and rosters of your information technology (IT) systems—e.g., hardware, software and

          data, including but not limited to network drawings, lists of computing devices (servers, PCs,

          laptops, PDAs, cell phones, with data storage and/or transmission features), programs, data maps

          and security tools and protocols.

                 It is requested that the aforesaid production be made within thirty days of service of this

          request at the office of Searcy Denney Scarola Barnhart & Shipley, P.A., 2139 Palm Beach Lakes

          Boulevard, West Palm Beach, Florida. Inspection will be made by visual observation, examination

          and/or copying.

                 I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via Service of

          Process with the Summons flcl Amended Cönn.laint.
                                                                             jJ
                                                               •ebt4:17:64
                                                 JACK SCAROLk_/) -
                                                 Florida Bar No.: 169440
                                                 Primary E-Mail: _scarolateam@searcylaw.com
                                                 ANDREA A. LEWIS
                                                 Florida Bar No: 85331
                                                 Primary E-Mail: .termeatn@searcvlaw.com
                                                 Searcy Denney Scarola Barnhart & Shipley, P.A.
                                                 2139 Palm Beach Lakes Boulevard
                                                 West Palm Beach, Florida 33409
                                                 Phone: (561) 686-6300
                                                 Fax: (561) 383-9451
                                                 Attorneys for Plaintiff
  • 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 30 of 63
Case

                ere




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                                                                 IN THE CIRCUIT COURT OF THE
                                                                 FIFTEENTH JUDICIAL CIRCUIT, IN AND
                                                                 FOR PALM BEACH COUNTY, FLORIDA. •

                                                                 CASE NO.: 50-2018CA-002509-XXXX-
                                                                 MB-Al

          JOSEPH SCHMIDT,

                               Plaintiff,

          VS.


          THE WASHINGTON NEWSPAPER
          PUBLISHING COMPANY LLC d/bla THE
          WASHWGTON EXAMINER,

                               Defendant.


                                   NOTICE OF TAKING VIDEOTAPE DEPOSITION

        TO:           Corporate Representative
                      The Washington Examiner
                      1152 15th Street NW, Suite 200
                      Washington, DC 20005

                      Notice is hereby given pursuant to the provisions of Rule 1.310(b)(6), Florida Rules of

        Civil Procedure and/or Rule 30(b)(6), Federal Rules of Civil Procedure of the intent to take the

        videotape deposition of a representative of THE WASHINGTON EXAMINER concerning all

        matters known or reasonably available to THE WASHINGTON EXAMINER with respect to the

        following:

                      The Corporate Representative with the most knowledge as to each of the areas described
                      in Plaintiffs contemporaneously served Interrogatories.

                      THE WASHINGTON EXAMINER is placed on notice of its obligation to prepare its

        designated. representative to respond on its behalf regarding the designated subject matters to the
  • 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 31 of 63
Case




        Notice of Taking Videotape Deposition — Corporate Representative
        Schmidt, Joseph vs. The Washington Newspaper Publishing Company LLC d/b/a Washington Examiner
        Case No. 50-201 8-CA-002509-XXXX-MB-At
        Page 2

        extent information is known or reasonably available to it whether from current or former agents

        and employees, documents, or other sources.

               The testimony of the designee with regard to the designated Subject matters shall be

        deemed to be the testimony of THE, WASHINGTON NEWSPAPER PUBLISHING COMPANY

        LLC d/b/a WASHINGTON EXAMINER itself.


            NAME AND ADDRESS                      DATE AND TIME                         LOCATION

          Corporate Representative of        June 1.2018                       Phipps Reporting, Inc.
          The Washington Newspaper           at 10:00 a.m.                     do Metro Center
          Publishing Company LLC                                               700 12th Street, N.W.
          d/b/a Washington Examiner                                            Suite 700
                                                                               Washineton, DC 20005


        *DUCES TECUM: TO HAVE AND BRING WITH YOU AT THE TIME OF THE
        DEPOSITION THE FOLLOWING:

               1.      Any and all versions of the article titled "NCIS: Navy SEAL Possesses and

        Produced Child Porn on Phone."

               2.      Any and all comments on the article titled "NCIS: Navy SEAL Possesses and

        Produced Child Porn on Phone," including comments made on Facebook, Instagram and/or THE

        WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

       EXAMINER'S website.

              3.       Any and all documents showing the amount of time the article titled "NCIS: Navy

       SEAL Possesses and Produced Child Porn on Phone" was published on THE WASHINGTON

       NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON EXAMINER'S website.
  • 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 32 of 63
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        Notice of Taking Videotape Deposition — Corporate Representative
        Schmidt, Joseph vs. The Washington Newspaper Publishing Company LLC clibia Washington Examiner
        Case No. 50-2018-CA-002509-XXXX-MB-Al
        Page 3

                4.      Any and all documents showing the amount of people who visited THE

        WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a WASHINGTON

        EXAMINER'S website on April 21, 2017, including a breakdown of user traffic by hour.

               5.       Any and all internal emails and/or other communications discussing Joseph

        Schmidt or the article "NCIS: Navy SEAL Possesses and Produced Child Porn on Phone."

               6.      Any and all marketing and advertising materials in use by THE WASHINGTON

        NEWSPAPER PUBLISHING COMPANY LLC clibla WASHINGTON EXAMINER in April of

        2017.. Specifically, the Plaintiff is requesting all materials that the Defendant provided to third

        parties looking to advertise on the Washington Examiner website or printed publications.

               7.      Reports, documents, memorandums, notes, and witness statements that are in

        anyway related to this case or the article "NCIS: Navy SEAL Possesses and Produced Child Porn

        on Phone."

        upon oral examination before Phipps Reporting, a Notary Public; or any other officer authorized

       by law to take depositions in the State of Florida. The oral examination is being taken for the

       purpose of discovery, for use at trial, or for such other purposes as are permitted under the

       applicable Statutes or Rules.

               *"Documents" shall include, but not be limited to all non-identical copies of writings,

       drawings, graphs, charts, photographs, phono-records, recordings, and/or any other data

       compilations from which information can be obtained, translated, if necessary, by the party to

       whom the request is directed through detection devices into reasonably usable form. "Documents"

       also include all electronic data as well as application metadata and system metadata. All
  • 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 33 of 63
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        Notice of Taking Videotape Deposition — Corporate Representative
        Schmidt, Joseph vs. The Washington Newspaper Publishing Company. LLC dtbla Washington Examiner
        Case No. 50-2018-CA-002509-XXXX-MB-AI
        Page 4

        inventories and rosters of your information technology (IT) systems—e.g., hardware, software and

        data, including but not limited to network drawings, lists of computing devices (servers, PCs,

        laptops, PDAs, cell phones, with data storage and/or transmission features), programs, data maps

        and security tools and protocols.

               I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via Service of

        Process with the -Summons and •Amended Co1:75.10t.

                                                                                 -
                                               JACK'SCAROLA
                                               Florida Bar No.: 169440
                                               Primary E-Mail: _scarolatcam Cusearcylaw.com
                                               Andrea A. Lewis
                                               Florida Bar No.: 85331
                                               Primary'E-Mail.:_terryteam@searcylaw.com
                                               Searcy Denney Scarola Barnhart & Shipley, P.A.2139 Palm
                                               Beach Lakes Boulevard
                                               West Palm Beach, Florida 33409
                                               Phone: (561) 686-6300
                                               Fax: (561) 383-9441
                                               Attorneys for Plaintiff


       cc:     Phipps Reporting
               scheduline@phinpsrepOrtina.com

       E-TRANSCRIPT. ASCII. CD. AND/OR DVD REOUESTED,
Case 9:18-cv-80614-RLR Document 1-1 Entered on FLSD Docket 05/11/2018 Page 34 of 63




        Notice of Taking Videotape Deposition — Corporate Representative
        Schmidt, Joseph vs. The Washington Newspaper Publishing Company 'LLC d/b/a Washington Examiner
        Case No. 50-2018-CA-002509-.XXXX-MB-Al
        Page 5

                               AlVIERICANS WITH„DISABILITIES ACT

           "If you are a person with a disability who needs any accommodation in
           order to participate in this proceeding, you are entitled, at no cost to you,
           to the provision of certain assistance. Please contact Tammy Anton,
           Americans with Disabilities Act Coordinator, Palm Beach County
           Courthouse, 205 North Dixie Highway West Palm Beach, Florida 33401;
           telephone number (561) 355-4380 at least 7 days before your scheduled
           court appearance, or immediately upon receiving this notification if the
           time before the scheduled appearance is less than 7 days; if you are
           hearing or voice impaired, call 711."

           "Si usted es una persona minusvalida que necesita algtin acomodamiento
           para poder participar en este procedimiento, usted tiene derecho, sin
           tener gastos propios, a que se he proven cierta ayuda.               Tenga la
           amabilidad de ponersc en contacto con Tammy Anton, 205 N. Dixie
           Highway, West Palm Beach, Florida 33401; telefono ntimero (561) 355-
           4380, por lo menos 7 dias antes de la cita fijada para su comparecencia
           en los tribunales, o inmediatamente despues de recibir esta notificacion
           Si el tiempo antes de la comparecencia que se ha programado es menos
           de 7 dias; si Listed tiene discapacitacion del oido o de la voz, Ilame al 711."

          "Si ou se yon moun ki enfim ki bezwen akomodasyon pou w ka patisipe
          nan pwosedi sa, ou kalifye san ou pa gen okenn lajan pou w pcye, gen
          pwovizyon pou jwen kek ed. Tanpri kontakte Tammy Anton, koklonate
          pwogram Lwa pou ameriken ki Enfim yo nan Tribinal Konte Palm Beach
          la ki nan 205 North Dixie Highway, West Palm Beach, Florida 33401;
          telefon li se (561) 355-4380 nan 7 jou anvan dat ou gen randevou pou
          park nan tribinal la, oubyen imedyatman apre ou fin resevwa
          konvokasyon an si he ou gen pou w paret nan tribinal la mwens ke 7 jou;
          Si ou gen pwoblem pou w tande oubyen pale, rele 711."
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                                      11:42:10 AM on FLSD Docket 05/11/2018 Page 35 of 63


                                                           IN THE CIRCUIT COURT OF THE
                                                           FIFTEENTH JUDICIAL CIRCUIT IN AND
                                                           FOR PALM BEACH COUNTY, FLORIDA

        JOSEPH SCHMIDT,                                    Case No.:50-2018-CA-002509-XXXX-MB-AI

               Plaintiff,

        vs.

        THE WASHINGTON NEWSPAPER
        PUBLISHING COMPANY LLC d/b/a THE
        WASHINGTON EXAMINER,

               Defendant.

        _____________________________________/

                            MOTION FOR EXTENSION OF TIME TO RESPOND TO
                                 PLAINTIFF’S AMENDED COMPLAINT

               Appearing specially for the limited purpose of this Motion, Defendant, THE

        WASHINGTON NEWSPAPER PUBLISHING COMPANY LLC d/b/a THE WASHINGTON

        EXAMINER (“Defendant”), by and through undersigned counsel and pursuant to the Florida

        Rules of Civil Procedure, hereby files its Motion for Extension of Time to Respond to Plaintiff’s

        Amended Complaint, and, in support thereof, states as follows:

               1.      Defendant was served in connection with this matter on April 12, 2018, thereby

        making May 2, 2018, the deadline to respond to Plaintiff’s Amended Complaint.

               2.      The undersigned is currently in trial before the Honorable John J. Murphy III in

        the case captioned Robinson v. IHOP, Case No. 09-42009, pending in the Circuit Court of the

        Seventeenth Judicial Circuit in and for Broward County, Florida. Accordingly, Defendant’s

        counsel is in need of additional time, up to and including, May 14, 2018, to prepare and file

        Defendant’s response.




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          3.      Defendant’s counsel contacted Plaintiff’s counsel in an attempt to obtain an

   extension of time as a professional courtesy; however, Plaintiff’s counsel refused to consent to

   the same unless Defendant agreed to answer the Amended Complaint, rather than file a Motion

   to Dismiss. Defendant would not accept Plaintiff’s conditions, thereby necessitating the present

   Motion.

          4.      Florida Rule of Civil Procedure 1.090(b) provides, in relevant part, as follows:

   “When an act is required or allowed to be done at or within a specified time by order of court, by

   these rules, or by notice given thereunder, for cause shown the court at any time in its discretion

   (1) with or without notice, may order the period enlarged if request therefor is made before the

   expiration of the period originally prescribed or as extended by a previous order . . . .” Fla. R.

   Civ. P. 1.090(b).

          5.      Defendant has shown good cause for the extension insofar as Defendant’s counsel

   is currently in trial in another matter and needs additional time to prepare an appropriate

   response to Plaintiff’s Amended Complaint.

          6.      The present motion is made within the deadline prescribed by the Florida Rules of

   Civil Procedure, is made in good faith, and is not intended to cause undue delay. Moreover,

   Plaintiff will not be unfairly prejudiced by the relief requested here insofar as the extension

   requested herein is de minimum.

          WHEREFORE, Defendant, THE WASHINGTON NEWSPAPER PUBLISHING

   COMPANY LLC d/b/a THE WASHINGTON EXAMINER, LLC, appearing specially and for

   the limited purpose of the present Motion, hereby respectfully requests that this Court grant it an

   extension of time up to and including May 14, 2018, to respond to Plaintiff’s Amended

   Complaint and any other and further relief as the Court deems just and proper.




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                                    CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY pursuant to Florida Rule of Judicial Administration 2.516 that

   the foregoing has been furnished only by Electronic Mail this 30th day of April, 2018, to all

   counsel on the attached service list.

                                                       Lewis Brisbois Bisgaard & Smith LLP
                                                       Attorneys for Defendant
                                                       The Alhambra
                                                       2 Alhambra Plaza, Suite 1110
                                                       Coral Gables, Florida 33134
                                                       Telephone: 786.353.0210
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                                                   BY: /s/ Todd R. Ehrenreich
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                                                              IN THE CIRCUIT COURT OF THE
                                                              FIFTEENTH JUDICIAL CIRCUIT IN AND
                                                              FOR PALM BEACH COUNTY, FLORIDA

         JOSEPH SCHMIDT,                                      Case No.:50-2018-CA-002509-XXXX-MB-AI

                 Plaintiff,

         vs.

         THE WASHINGTON NEWSPAPER
         PUBLISHING COMPANY, LLC d/b/a THE
         WASHINGTON EXAMINER,

                 Defendant.

         _____________________________________/

         DEFENDANT’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                     AND INCORPORATED MEMORANDUM OF LAW

               Appearing specially and for the limited purpose of this Motion only, Defendant, THE

        WASHINGTON NEWSPAPER PUBLISHING COMPANY, LLC d/b/a THE WASHINGTON

        EXAMINER (“Defendant”), by and through undersigned counsel and pursuant to the Florida

        Rules of Civil Procedure, hereby files this Motion to Dismiss for Lack of Personal Jurisdiction,

        and, in support thereof, states as follows:

               1.       This case arises out of an online news article that Defendant, a Delaware company

        headquartered in the District of Columbia, published on its website. Plaintiff, a California resident,

        subsequently filed suit in Palm Beach County, Florida, alleging that the subject article was

        defamatory.

               2.       This Court must dismiss Plaintiff’s Amended Complaint because the Court does

        not have personal jurisdiction over Defendant for the purposes of this lawsuit.




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           3.      The Court lacks general personal jurisdiction because: (1) Defendant is a limited

   liability company that is organized and operated under the laws of the State of Delaware, and (2)

   its principal place of business is in Washington, D.C.

           4.      Moreover, even assuming, arguendo, that Defendant’s alleged misconduct falls

   within the ambit of Florida’s long-arm statute, the Court nonetheless cannot exercise specific

   personal jurisdiction over Defendant because doing so would run afoul of the requirements of due

   process.

           5.      Because this Court has no basis for exercising personal jurisdiction, Defendant

   respectfully requests that this Court dismiss Plaintiff’s Amended Complaint.

                                               BACKGROUND

           The subject article was posted to Defendant’s website on April 21, 2017, under the

   headline: “Navy SEAL charged with making child porn.” See Article, attached hereto as Exhibit

   1.1 Initially, the article was published with a stock photograph of a Navy SEAL, who was later

   identified to Defendant as Plaintiff Joseph Schmidt (“Plaintiff”). See id. The subject article

   discusses charges that were brought against another Navy SEAL, Gregory Kyle Seerdon, who

   ultimately pled guilty to molesting a young girl on camera. See id. Plaintiff’s name was not

   mentioned anywhere in the article, and his picture was removed from the article almost

   immediately after it was posted to Defendant’s website. See id. When Plaintiff’s photograph was

   removed, it was replaced with a stock photograph of a computer hard drive. See id.

           The subject article does not reference any conduct that took place within the State of

   Florida. See Exhibit 1. Rather, the article discusses criminal charges brought against Seerdon,




            1
              The Article is also available at https://www.washingtonexaminer.com/navy-seal-charged-with-making-
   child-porn.



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   who was stationed in San Diego, California. See Exhibit 1. According to the article, Seerdon was

   charged in a federal court in Virginia. See Exhibit 1. The charges stemmed from photographs and

   videos that were found on Seerdon’s cell phone during the course of an NCIS investigation, which

   was initiated after a woman reported that Seerdon sexually assaulted her in a hotel room in

   Virginia. See Exhibit 1.

                                     MEMORANDUM OF LAW

          Courts recognize two types of personal jurisdiction: general and specific. In the present

   case, neither type of personal jurisdiction exists. Accordingly, the Court must dismiss Plaintiff’s

   Amended Complaint. When determining whether personal jurisdiction exists, Florida courts

   conduct a burden-shifting analysis. See Venetian Salami Co. v. Parthenais, 554 So. 2d 499, 501–

   03 (Fla. 1989). First, the court must determine whether the facts alleged in the complaint, if true,

   are sufficient to establish personal jurisdiction over the defendant. See id. “A defendant wishing

   to contest the allegations of the complaint concerning jurisdiction or to raise a contention of

   minimum contacts must file affidavits in support of his position.” Id. at 502. “The burden is then

   placed upon the plaintiff to prove by affidavit the basis upon which jurisdiction may be obtained.”

   Id. “In most cases, the affidavits can be harmonized, and the court will be in a position to make a

   decision based upon facts which are essentially undisputed.” Id. at 502–03. However, where the

   affidavits cannot be reconciled, the trial court must hold a “limited evidentiary hearing in order to

   determine the jurisdiction issue.” Id. at 503; see Unger v. Publisher Entry Serv., Inc., 513 So. 2d

   674 (Fla. 5th DCA 1987), approved by 554 So. 2d 499 (Fla. 1989).

          I. GENERAL PERSONAL JURISDICTION

          A “court may assert general jurisdiction over foreign (sister-state or foreign-country)

   corporations to hear any and all claims against them when their affiliations with the State are so




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   ‘continuous and systematic’ as to render them essentially at home in the forum State.” Daimler

   AG v. Bauman, 571 U.S. 117, 134 (2014), quoted in BNSF Ry. v. Tyrrell, 137 S. Ct. 1549, 1558

   (2017).     “The ‘paradigm’ forums in which a corporate defendant is ‘at home’ . . . are the

   corporation’s place of incorporation and its principal place of business.” BNSF Ry., 137 S. Ct. at

   1558. However, the “exercise of general jurisdiction is not limited to these forums;” and, “in an

   ‘exceptional case,’ a corporate defendant’s operations in another forum ‘may be so substantial and

   of such a nature as to render the corporation at home in that State.’” Id. (quoting Daimler, 571

   U.S. at 139 n.9).

             In the present case, the Court cannot exercise general personal jurisdiction over Defendant

   because: (1) Defendant is organized under the laws of Delaware, and (2) Defendant’s principal

   place of business is Washington, D.C. See Affidavit of Robert A. Manzi, attached hereto as Exhibit

   2, at ¶ 5. Moreover, because Defendant did not have any employees in Florida and did not maintain

   any offices in the State at the time the subject article was published, this is not an “exceptional

   case” where Defendant’s operations in Florida are “so substantial and of such a nature” as to render

   Defendant “at home” in Florida. Compare Exhibit 2, at ¶ 6, with BNSF Ry., 137 S. Ct. at 1558–

   59 (holding that a Montana court lacked general personal jurisdiction where the defendant railroad

   company was not incorporated in Montana, did not maintain its principal place of business in

   Montana, and did not engage in sufficient activity in Montana to establish general personal

   jurisdiction, even though the defendant had “over 2,000 miles of railroad track and more than

   2,000 employees in Montana”). Therefore, this Court cannot exercise general personal jurisdiction

   over Defendant.




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          II. SPECIFIC PERSONAL JURISDICTION

          Additionally, this Court lacks specific personal jurisdiction over Defendant in the present

   case. When analyzing specific personal jurisdiction, courts apply a two-pronged test. See Venetian

   Salami Co., 554 So. 2d at 502. First, the court must find that the complaint alleges sufficient facts

   to bring the action within the ambit of Florida’s Long-Arm statute. See id. Second, the court must

   determine whether the defendant has sufficient “minimum contacts” with the forum–state to satisfy

   the requirements of due process. See id. at 502. “The Due Process Clause of the Fourteenth

   Amendment sets the outer boundaries of a state tribunal’s authority to proceed against a

   defendant”, Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 923 (2011), and due

   process requires that a defendant have sufficient minimum contacts with Florida “such that the

   maintenance of the suit does not offend traditional notions of fair play and substantial justice.”

   Venetian Salami Co., 554 So. 2d at 502 (quoting Int’l. Shoe Co. v. Washington, 326 U.S. 310, 316

   (1945)). Unless both of these tests are satisfied, a Florida court cannot exercise specific personal

   jurisdiction over a non-resident defendant. See id.; see also Russo v. Fink, 87 So. 3d 815, 818 (Fla.

   4th DCA 2012).

          Even assuming, arguendo, that Defendant’s alleged misconduct falls within the ambit of

   Florida’s long-arm statute, this Court cannot exercise personal jurisdiction over Defendant without

   running afoul of the requirements of due process. In specific personal jurisdiction cases, courts

   apply the “three-part due process test,” which examines: (1) “whether the nonresident defendant

   ‘purposefully availed’ himself of the privilege of conducting activities within the forum state, thus

   invoking the benefit of the forum state’s laws”; (2) “whether the plaintiff’s claims ‘arise out of or

   relate to’ at least one of the defendant’s contacts with the forum”; and (3) “whether the exercise of




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   personal jurisdiction comports with ‘traditional notions of fair play and substantial justice’”. Louis

   Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013) (citations omitted).

           a. Defendant Did Not Purposefully Avail Itself of the Privilege of Conducting
              Activities in Florida.

           In intentional tort cases, including defamation cases, “there are two applicable tests for

   determining whether purposeful availment occurred”: (1) the Calder “effects” test, and (2) the

   “traditional purposeful availment analysis.” Louis Vuitton Malletier, 736 F.3d at 1356. In cases

   involving tortious activity that occurred online, courts in Florida usually apply the so-called Zippo

   test in lieu of the traditional purposeful-availment analysis. 2

                    1. “Effects” Test

           The “effects” test requires a “showing that the defendant (1) committed an intentional tort

   (2) that was directly aimed at the forum, (3) causing an injury within the forum that the defendant

   should have reasonably anticipated.” Oldfield v. Pueblo De Bahai Lora, S.A., 558 F.3d 1210, 1220

   n.28 (11th Cir. 2009). Pursuant to the Calder “effects” test, courts lack specific personal

   jurisdiction over defendants in cases involving online publications where “the websites [are]

   directed to a national audience and [do] not specifically target Florida readers.” Bioheart, Inc. v.

   Peschong, 2013 U.S. Dist. LEXIS 57259, at *14 (S.D. Fla. 2013) (citing Fullsail, Inc. v. Spevack,

   2003 U.S. Dist. LEXIS 20631, at *21 (M.D. Fla. 2003); and citing JB Oxford Holdings, Inc. v. Net

   Trade, Inc., 76 F. Supp. 2d 1363, 1367 (S.D. Fla. 1999) (finding that contacts that “link with equal

   strength the defendant to all states” are not enough to support personal jurisdiction)). In the present




            2
              Federal courts in Florida frequently apply the Zippo test in cases similar to the present case. See, e.g.,
   Bioheart, Inc. v. Peschong, 2013 U.S. Dist. LEXIS 57259 (S.D. Fla. 2013); Full Sail, Inc. v. Spevack, 2003 U.S. Dist.
   LEXIS 20631, *10–12 (M.D. Fla. 2003). The Eleventh Circuit has not expressly adopted the Zippo test; however, it
   has held that elements of the Zippo test may properly be considered by a court when performing a jurisdictional
   analysis. See Internet Solutions Corp. v. Marshall, 611 F.3d 1368, 1371 n.1 (11th Cir. 2010).


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   case, the subject article was not specifically directed at a Florida audience, and therefore, the Court

   cannot exercise specific personal jurisdiction over Defendant.

          The court’s opinion in Internet Solutions is instructive because it is factually similar to the

   present case. See 2010 U.S. Dist. LEXIS 145503 (M.D. Fla. Sept. 29, 2010). There, the defendant,

   Marshall, was a private individual who resides in the State of Washington and who owned and

   operated a website on which she posted information about consumer-related issues regarding

   different companies. Id. at *3. The plaintiff, ISC, was a Nevada for-profit corporation with its

   principal place of business in Orlando, Florida; and it owned and operated several websites related

   to employment recruiting and internet advertising, including VeriResume. See id. at *3–4. ISC

   sued Marshall for posting allegedly defamatory statements on her website “to the effect that ISC

   engaged in criminal activity, such as ‘phishing’ and consumer fraud scams, in order to steal

   personal information from customers for purposes of identity theft.” Id. at *4. Specifically, ISC

   cited to an article that identified VeriResume as an affiliate of ISC and listed three Florida

   addresses associated with ISC. Id. The court also noted, “Of the viewers who commented on the

   VeriResume post, several appeared to have Florida addresses”. Id.

          In Internet Solutions, the court applied the Calder “effects” test and held that it lacked

   personal jurisdiction over the defendant. See id. The court noted that “the fact that Defendant’s

   websites are equally accessible everywhere does not establish targeting of Florida” and that “visits

   to a website by Florida residents would not, without more, constitute sufficient minimum

   contacts.” Id. at *12 (quoting another case). In Internet Solutions, the court cited to Revell, an

   internet-defamation case out of the Fifth Circuit, and explained that, in Revell, the Fifth Circuit

   determined that “the Calder effects test was not met because the article did not target readers in

   the forum state and the forum state was not the focal point of the article or harm suffered.” Id. at




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   *13–14 (internal quotation marks omitted). The Internet Solutions court also distinguished Revell

   based on the fact that, in Internet Solutions, the subject post referenced three of ISC’s addresses

   that were located in Florida, which arguably strengthened the plaintiff’s argument in favor of

   exercising personal jurisdiction. Id. at *15–16. Ultimately, however, the court was not persuaded

   that these references to Florida addresses were sufficient to establish personal jurisdiction, noting,

   “Although ISC maintains offices in Florida, residents of any state are equally capable of utilizing

   ISC’s recruiting services through the Internet. Thus, an allegedly defamatory article about ISC

   hypothetically would target a national audience.” Id. The court further explained, “Aside from

   the addresses, the article contains no other connection to Florida. ISC does not demonstrate that

   Florida residents were the target audience or that it suffered a particular harm to its business

   generated from Florida. Even though Florida residents may have posted in response to the article,

   personal jurisdiction cannot be based solely on the ability of a Florida resident to access the

   website.” Id. at *16. Thus, the court stated that it was required to “distinguish between Internet

   contacts that target readers in a particular forum from contacts that ‘merely link with equal strength

   the defendant to all states.’” Id. at *16–17 (citation omitted). Accordingly, the court held that it

   lacked personal jurisdiction because “[p]urposeful direction under Calder, as interpreted by the

   Fifth Circuit, has not been established.” Id. at *17.

          The United States District Court for the Southern District of Florida reached a similar

   conclusion in Bioheart, Inc. v. Peschong, where the court held that it lacked personal jurisdiction

   over the defendants in a defamation case arising out of an online publication. See 2013 U.S. Dist.

   LEXIS 57259 (S.D. Fla. 2013). In that case, the plaintiff, Bioheart, was a publicly traded company

   that focused on the development and commercialization of cell therapies for the treatment of heart

   disease. Id. at *1. Bioheart was a Florida corporation with its principal place of business in




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   Broward County, Florida. Id. at *3. One of the defendants, Peschong, was a resident of California,

   and he allegedly posted a series of five defamatory statements about Bioheart on the message board

   of a website called Yahoo! Finance. Id. at *2. Bioheart filed suit against Peschong (and others),

   alleging various causes of action sounding in defamation. Id. at *2–3. Specifically, Bioheart

   claimed that “some of its prospective investors saw Peschong’s posts, and that the posts had a

   negative effect on Bioheart’s share price, future investment, and the perception of its management

   team.” Id. at *2. Peschong and the other California defendants moved to dismiss for lack of

   personal jurisdiction. The court applied the Calder “effects” test and granted the defendants’

   motion to dismiss, finding that it lacked personal jurisdiction over the defendant:

           [I]n the instant case, Bioheart provides no evidence that Yahoo! Finance generally,
           or Peschong’s comments in particular, were purposefully directed at a Florida
           audience. Even if the Court accepts that the comments were targeted at Bioheart’s
           investors or potential investors, Bioheart is a publicly-traded company. There was
           no reason for Peschong to have thought that Bioheart’s investors would be located
           in Florida, as opposed to any other state. Peschong’s knowledge that Bioheart is
           located in Florida is insufficient to establish that his posts were expressly aimed at
           the state. Accordingly, the Court concludes that Peschong does not have minimum
           contacts with Florida to support the exercise of personal jurisdiction.

   Id. at *15 (internal citations omitted).

           Like in Internet Solutions and Bioheart, the Calder “effects” test is not satisfied in the

   present case. The subject article is not purposefully aimed at Florida readers insofar as the article

   is freely and equally accessible to all internet-using members of the public, regardless of where

   they reside. See Exhibit 2, at ¶ 8. Moreover, the subject article is clearly directed at a national

   audience, rather than a Florida-based audience, because the substance of the article has nothing to

   do with the State of Florida. The subject article does not reference any conduct that took place

   within the State of Florida. See Exhibit 1. Rather, the subject article discusses charges that were

   brought against another Navy SEAL, Gregory Kyle Seerdon, who was stationed in San Diego,




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   California. See Exhibit 1. According to the article, Seerdon was charged in a federal court in

   Virginia. See Exhibit 1. The charges stemmed from photographs and videos that were found on

   Seerdon’s cell phone during the course of an NCIS investigation, which was initiated after a

   woman reported that Seerdon sexually assaulted her in a hotel room in Virginia. See Exhibit 1.

   Accordingly, in the case at bar, the Court lacks personal jurisdiction because “personal jurisdiction

   cannot be based solely on the ability of a Florida resident to access the website” and because

   Defendant’s only contacts with Florida “‘merely link with equal strength the defendant to all

   states.’” Id. at *16–17 (citation omitted). Because the subject article did not specifically target a

   Florida audience, it cannot be said that Defendant “aimed” its allegedly tortious conduct at Florida.

   Accordingly, this Court lacks personal jurisdiction pursuant to the Calder “effects” test and,

   therefore, should dismiss Plaintiff’s Amended Complaint for lack of personal jurisdiction.

                   2. Zippo Test

           In addition to the “effects” test, courts may also consider the Zippo test as a part of their

   traditional purposeful-availment analysis.      The purpose of the Zippo test is to analyze the

   “constitutionality of basing personal jurisdiction on Internet activity . . . in light of the interaction

   between the host and the user and the commercial nature of the website.” Internet Solutions Corp.

   v. Marshall, 2010 U.S. Dist. LEXIS 145503, at *9 (M.D. Fla. Sept. 29, 2010). In Full Sail, Inc. v.

   Spevack, the court explained the sliding-scale approach articulated in Zippo Manufacturing Co. v.

   Zippo Dot Com, Inc., 952 F. Supp. 1119 (W.D. Pa. 1997):

           On one end of the scale, a defendant clearly is subject to personal jurisdiction
           because it enters into online contracts with Internet patrons. Id. at 1124. For
           example, the Sixth Circuit found that, by knowingly entering into an online contract
           with an Ohio resident and repeatedly transmitting files via the Internet to the Ohio
           resident, the defendant purposefully directed his commercial activity to Ohio and
           thereby subjected himself to its jurisdiction. Id. (summarizing Compuserve, Inc. v.
           Patterson, 89 F.3d 1257 (6th Cir. 1996)). In Miami Breakers, the court determined
           that an active site sufficient for personal jurisdiction is one that allowed a consumer



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          to enter into a contract with the defendant over the Internet, e.g., by allowing for
          order and purchase of items online. 140 F. Supp. 2d at 1329.

                  At the other end of the scale are passive Web sites. Zippo, 952 F. Supp. at
          1124. A passive site is one that “does little more than make information available
          to those who are interested in it. . . .” Id. For example, a non-interactive site posting
          general information -- e.g., ticket information and a schedule of events -- is passive,
          for it does not permit a consumer to purchase items or enter into a contract online.
          Id. at 1125 (describing Bensusan Rest. Corp. v. King, 937 F. Supp. 295 (S.D.N.Y.
          1996)). In Mink v. AAAA Development LLC, 190 F.3d 333 (5th Cir. 1999), the court
          found the site at issue passive because it did not permit the taking of orders online;
          rather a user had to print the order form from the Web site and remit it via regular
          mail. Id. at 337.

                  In the middle of the scale are interactive sites that allow a user to exchange
          information with the host computer. ComputerUser.com, Inc. v. Tech. Publ'ns,
          LLC, 2002 U.S. Dist. LEXIS 13453, 2002 WL 1634119 at *7 (D. Minn. July 20,
          2002) (citation omitted). A site is interactive if it allows a visitor to send and
          receive information via an online bulletin board or open forum. Revell, 317 F.3d
          at 472 (finding the site’s bulletin board to be interactive because a visitor could
          participate in an open forum that allowed the user himself to post an article). In
          such a case, jurisdiction depends on the level of interactivity and the degree to
          which the information exchange is commercial. Id.; ComputerUser.com, 2002 U.S.
          Dist. LEXIS 13453, 2002 WL 1634119 at *7. In ComputerUser.com, the Court
          found that a site was interactive because it received thousands of online contestant
          applications for a “Sexiest Geek Alive” contest, contained interactive features such
          as a mandatory message board, and offered a free e-mail account which allowed a
          user to request promotional material and access special offers. 2002 U.S. Dist.
          LEXIS 13453, [WL] at *7-8. Construing the facts in a light most favorable to the
          plaintiff, the court found that sufficient minimum contacts with the forum state
          existed. 2002 U.S. Dist. LEXIS 13453, [WL] at *8.

   Full Sail, Inc. v. Spevack, 2003 U.S. Dist. LEXIS 20631, *10–12 (M.D. Fla. 2003); see also

   Internet Solutions Corp., 2010 U.S. Dist. LEXIS 145503, at *10 (noting that active websites may

   be subject to personal jurisdiction; the exercise of personal jurisdiction over passive websites is

   improper; and, for interactive websites, the propriety of personal jurisdiction depends on the level

   of interactivity and commercial nature of the exchange of information that occurs on the website).

          The Internet Solutions case, discussed above, also illustrates why this Court lacks personal

   jurisdiction over Defendant pursuant to the Zippo test. In Internet Solutions, the court held that




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   “the only interaction between the user and Marshall’s website is the user’s ability to post comments

   to Marshall’s articles, to which Marshall can then post a response.” 2010 U.S. Dist. LEXIS

   145503, at *10–11. “Thus,” the court concluded, “the website at most could be described as an

   interactive site in the middle of the spectrum.” Id. at *11. The court also rejected ISC’s argument

   that “Marshall posted the allegedly defamatory statements to lure advertisers to the site to obtain

   income,” explaining that, “[e]ven assuming that Marshall attempted to lure advertisers to her

   website by way of the defamatory statements, this commercial activity by itself likely would not

   be sufficient . . . .” Id. at *11–12. Therefore, the court held that “the exercise of personal

   jurisdiction based on the Zippo sliding scale is not proper.” Id. at *12.

          In the present case, Defendant’s website is passive for the purposes of the Zippo test.

   Unlike the website at issue in Internet Solutions, Defendant’s website does not permit visitors to

   comment on the articles. See Exhibit 2, at ¶ 9. Rather, Defendant’s website merely disseminates

   newsworthy information about politics and current events; and, as such, it “does little more than

   make information available to those who are interested in it . . . .” See Zippo, 952 F. Supp. at 1124,

   quoted in Spevack, 2003 U.S. Dist. LEXIS 20631, at *11. Therefore, pursuant to the Zippo test,

   this Court cannot exercise personal jurisdiction over Defendant based solely on the fact that

   Defendant passively relayed information that was accessible in every state. See Internet Solutions

   Corp., 2010 U.S. Dist. LEXIS 145503, at *10 (noting the exercise of personal jurisdiction over

   passive websites is improper).

          Even if this Court finds that Defendant’s website is “interactive” and falls within the middle

   of the Zippo scale, the exercise of personal jurisdiction would, nonetheless, be inappropriate. For

   interactive websites, “jurisdiction depends on the level of interactivity and the degree to which the

   information exchange is commercial.” Internet Solutions Corp., 2010 U.S. Dist. LEXIS 145503,




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   at *12 (collecting cases). As discussed above, Defendant’s website is not interactive; however, to

   the extent the Court finds some degree of interactivity, the information exchanged on Defendant’s

   website is not commercial in nature. In particular, at all times pertinent, Defendant’s website did

   not have any paid subscribers. See Exhibit 2, at ¶ 8. Additionally, even assuming Defendant

   derived any advertising revenue from its website during the short period of time that the subject

   article was posted in its original form, this limited commercial activity—i.e., incidental advertising

   revenue that is not specifically attributable to the subject article—would not be sufficient to justify

   the exercise of personal jurisdiction. See Internet Solutions Corp., 2010 U.S. Dist. LEXIS 145503,

   at *11–12. Accordingly, pursuant to the Zippo test, this Court lacks personal jurisdiction over

   Defendant and should, therefore, dismiss Plaintiff’s Amended Complaint.

          b. Plaintiff’s Claims Do Not Arise Out of or Relate to Defendant’s Florida Contacts.

          Further, this Court must also dismiss Plaintiff’s Amended Complaint because Plaintiff’s

   claims do not “arise out of or relate to” Defendant’s contacts with the State of Florida. “A

   fundamental element of the specific jurisdiction calculus is that plaintiff’s claim must arise out of

   or relate to at least one of the defendant’s contacts with the forum.” Louis Vuitton Malletier, 736

   F.3d at 1355 (quoting Fraser v. Smith, 594 F.3d 842, 850 (11th Cir. 2010)). Accordingly, the

   court’s “inquiry must focus on the direct causal relationship between the defendant, the forum, and

   the litigation.” Id. at 1355–56; see also Fraser, 594 F.3d at 850 (“We have not developed a specific

   approach to determining whether a defendant’s contacts ‘relate to’ the plaintiff’s claims, but we

   recently held that ‘[n]ecessarily, the contact must be a “but-for” cause of the tort.’” (quoting

   Oldfield v. Pueblo De Bahai Lora, S.A., 558 F.3d 1210, 1222–23 (11th Cir. 2009)).

          For example, in Internet Solutions, the court found that the plaintiff’s claims did not arise

   out of the defendant’s contacts with Florida, and therefore, the exercise of personal jurisdiction




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   would run afoul of the defendant’s due process rights. See 2010 U.S. Dist. LEXIS 145503, at *17.

   In so holding, the court explained, “Although Marshall posted Florida addresses associated with

   ISC, it is not alleged that readers were drawn to the article because of ISC’s connection to Florida.”

   Id. Thus, the Internet Solutions court held that “Marshall’s contacts with Florida do not indicate

   that she purposefully availed herself of the privilege of conducting activities in Florida or should

   reasonably anticipate being haled into a Florida court.” Id.

          Similarly, in the present case, all of Plaintiff’s claims arise out of the publication of the

   subject article. As discussed above, the subject article does not mention the State of Florida or

   discuss any persons or conduct that took place in Florida. See Exhibit 1. Additionally, because

   Defendant is a Delaware company with its principal place of business in Washington, D.C.,

   Defendant’s allegedly tortious conduct did not occur in Florida. See Exhibit 2, at ¶ 5. Defendant

   did not dispatch any reporters to Florida in connection with the subject article, nor did it engage in

   any other newsgathering activities related to the subject article within the State of Florida. See

   Exhibit 2, at ¶ 7. Rather, the subject article was authored, edited, and posted to Defendant’s

   website by individuals working out of Defendant’s office in the District of Columbia. See Exhibit

   2, at ¶ 7. Further, at all times since the subject article was posted to Defendant’s website, it has

   been freely and equally accessible to all internet-using members the public, regardless of their

   place of residency. See Exhibit 2, at ¶ 8. Therefore, it cannot be said that Defendant’s contacts

   with Florida are the “but-for” cause of the torts alleged in Plaintiff’s Amended Complaint. See

   Fraser, 594 F.3d at 850. To the contrary, the subject article has no particular relationship to the

   State of Florida, and Plaintiff cannot argue that any “readers were drawn to the article because of”

   Defendant’s “connection to Florida.” See Internet Solutions Corp., 2010 U.S. Dist. LEXIS

   145503, at *17.




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          Moreover, at all times pertinent hereto, Plaintiff was and is domiciled in California, and

   thus, Florida is “not the focal point of the article or harm suffered.” See Revell v. Lidov, 317 F.3d

   467, 473 (5th Cir. 2002), quoted in Internet Solutions Corp. v. Marshall, 2010 U.S. Dist. LEXIS

   145503, at *13–14 (M.D. Fla. Sept. 29, 2010); see also Sovereign Offshore Servs., LLC v. Shames,

   2017 U.S. Dist. LEXIS 123514, at *8–9 (S.D. Fla. 2017) (holding that the court lacked personal

   jurisdiction in an online-defamation case where Florida was not the “focal point” of the online

   posts because the “posts do not identify Plaintiffs as being based in Florida, nor do they identify

   the office locations of any other Florida company mentioned”). Accordingly, none of Plaintiff’s

   claims arise out of relate to Defendant’s contacts with Florida, and therefore, this Court lacks

   personal jurisdiction over Defendant.

          c. Exercising Jurisdiction Over Defendant Would Violate Traditional Notions Fair
             Play and Substantial Justice in the Present Case.

          In order to comply with the requirements of due process, courts must also determine

   whether the exercise of personal jurisdiction comports with the traditional notions of “fair play

   and substantial justice.” See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 464 (1985). Courts

   must consider the five Burger King factors in making this determination: (1) the burden on the

   defendant; (2) the forum state’s interest in adjudicating the dispute; (3) the plaintiff’s interest in

   obtaining convenient and effective relief; (4) the interstate judicial system’s interest in obtaining

   the most efficient resolution of controversies; and (5) the shared interest of the several States in

   furthering fundamental substantive social policies. Id. at 477.

          Both Internet Solutions and Bioheart, discussed above, demonstrate that this Court cannot

   exercise personal jurisdiction over Defendant in the present case without offending traditional

   notions of fair play and substantial justice. In Internet Solutions, the court analyzed the Burger

   King factors and held that, even if the plaintiff had established that the defendant had minimum



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   contacts with Florida, “the exercise of jurisdiction over Marshall would offend traditional notions

   of fair play and substantial justice.” 2010 U.S. Dist. LEXIS 145503, at *18. The Internet Solutions

   court explained the application of the Burger King factors as follows:

          The burden on Marshall, who resides in Washington, weighs against exercising
          jurisdiction. As Marshall states in her Declaration, the fact that the website is
          hosted out of her home in Washington suggests that relevant documents and
          evidence are also located in Washington. Although ISC maintains its principal
          place of business in Florida and is authorized to transact business in Florida, the
          Court cannot discern any other particular interest Florida has in resolving the
          dispute. Goforit, 513 F. Supp. 2d at 1333 (finding that the claim of a Nevada
          corporation operating a website service available nationally, with its principal place
          of business in Florida, did not result in Florida having a concern in the dispute).
          Because the three other factors do not weigh for or against jurisdiction in this forum,
          fair play and substantial justice would not be satisfied by litigation of the suit in
          Florida.

   Id. at *19–20. Accordingly, the court found that it lacked personal jurisdiction over the defendant

   and, therefore, granted the defendant’s motion and dismissed the case. See id.

          In Bioheart, the court applied the Burger King factors and came to the same conclusion:

   “In this case, Peschong resides in California and would bear a substantial burden in defending this

   action in Florida.” 2013 U.S. Dist. LEXIS 57259, at *16. “Moreover,” the court explained,

   “although Bioheart maintains its principal place of business in Florida, Bioheart has not set forth

   any other particular interest that Florida has in adjudicating this dispute.” Additionally, the court

   noted that “all of Peschong’s alleged tortious actions took place while he was in California, and

   there is no showing that any of the evidence in this case would be located in Florida.” Id. at *17.

   Finally, the court noted that the remaining Burger King factors were neutral and, therefore, held

   that “litigating this case in Florida would violate traditional notions of fair play and substantial

   justice, and the exercise of personal jurisdiction would be improper.” Id. Accordingly, the

   Bioheart court granted the defendant’s motion to dismiss for lack of personal jurisdiction. See id.




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            Like in Internet Solutions and Bioheart, weighing the Burger King factors in the present

   case demonstrates that the exercise of jurisdiction over Defendant would offend traditional notions

   of fair play and substantial justice. Defendant would be substantially burdened if forced to defend

   this lawsuit in Florida. Defendant is organized under the laws of Delaware, but its principal place

   of business is in the District of Columbia. See Exhibit 2, at ¶ 5. Accordingly, all Defendant’s

   employees who were involved in authoring, editing, and posting the subject article are located in

   the District of Columbia. See Exhibit 2, at ¶ 7.

            Moreover, according to Plaintiff’s Amended Complaint, Plaintiff is a resident of San Diego

   County, California, and the majority of the witnesses with information regarding Plaintiff’s alleged

   damages are also likely located in San Diego County, California. See Pl.’s Am. Compl., at ¶ 6;

   see, e.g., Pl.’s Am. Compl., at ¶¶ 25–26 (“The Schmidt family was terrified to go outside for fear

   that someone would actually make good on their threats. Officer Schmidt called NCIS, the FBI,

   and local police to warn them about the article and tell them that he and his family may need

   protection at their home. The Schmidt family was approached by people from their suburban

   neighborhood and at their son’s middle school asking them about the child rape allegations and

   questioning why he was not in jail. . . . After reading all of the death threats, Officer Schmidt

   bought a security camera system for his home and did not leave his home without a firearm.

   Officer Schmidt and his wife continue to live in fear. They were forced to sell their home and

   transfer their son to a different school.”). Forcing Defendant to defend this action in Florida, where

   none of the pertinent evidence or witnesses are located,3 would substantially burden Defendant.




            3
              The only thing tying Florida to this cause of action is the West Palm Beach location of the law firm
   representing Plaintiff. Cf. U.S. ex rel. Urquilla-Diaz v. Kaplan Univ., 2009 U.S. Dist. LEXIS 128211, at *5 (M.D.
   Fla. 2009) (noting in the context of a motion to transfer for forum non conveniens that “the convenience of counsel is
   not a relevant factor in determining whether to transfer an action”)



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          Additionally, Florida has no appreciable interest in adjudicating this dispute, as the

   substance of subject article has no connection to Florida, none of the parties reside in Florida, and

   none of the evidence or witnesses are located in Florida. Defendant’s website is accessible

   anywhere in the world, and the mere fact that it can be accessed in Florida—just as it can be from

   any other state—does not support the assertion that Florida has any particular interest in the

   outcome of this case. See Internet Solutions Corp., 2010 U.S. Dist. LEXIS 145503, at *18–20;

   see also Bioheart, 2013 U.S. Dist. LEXIS 57259, at *16–17. Moreover, Plaintiff’s interest in

   obtaining convenient relief, and the interstate judicial system’s interest in obtaining the most

   efficient resolution of controversies, will not be served if this case is litigated in a forum that has

   a minimal connection, if any, to Plaintiff’s claims. To the contrary, the best way to ensure the

   efficient and convenient resolution of this case is to dismiss this action and allow Plaintiff to re-

   file in a venue that provides access to the pertinent evidence and witnesses, that has a greater

   connection to the substance of the subject article, and that does not force both parties to travel

   cross-country in order to litigate this case. Because the exercise of personal jurisdiction in the

   present case would offend the traditional notions of fair play and substantial justice, this Court

   must dismiss Plaintiff’s Amended Complaint.

                                             CONCLUSION

          For the foregoing reasons, Defendant respectfully requests that this Court grant its Motion

   to Dismiss for Lack of Personal Jurisdiction and grant any other and further relief the Court deems

   just and proper.




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                                   CERTIFICATE OF SERVICE

           WE HEREBY CERTIFY pursuant to Florida Rule of Judicial Administration 2.516 that

   the foregoing has been furnished only by Electronic Mail this 11th day of May, 2018, to all counsel

   on the attached service list.

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                          Exhibit 1
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                                                            New York, FL: Resident
                                                            1936 and 1966 Should
                                                            American drivers that never knew t
                                                            insurance rates are surprised. Drive
                                                            should read this...




    Navy SEAL charged with making child porn
    by Travis J. Tritten | April 21, 2017 06:47 PM
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    A Navy SEAL has been charged in Virginia with making and possessing child
    pornography after a date rape investigation led to a search of his cell phone.

    The Naval Criminal Investigative Service says Gregory Kyle Seerden, who was assigned to
    SEAL Team One in San Diego, had photos showing the molestation of a sleeping
    prepubescent minor. His phone also contained a trove of other photos of children in sex
    acts, according to court documents ﬁrst published by CBS News.

    The charges were ﬁled in a Virginia Beach federal court on March 31. They were unsealed
    Thursday, CBS reported.

                                                                 Seerdon was being
                                                                 investigated for a sexual
                                                                 assault when his
                                                                 commander at the SEAL
                                                                 team authorized
                                                                 investigators to seize his cell
                                                                 phone data for evidence.

                                                                 F      i        t
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                                                                                Forensic experts
                                                                                immediately found various
                                                                                images of child
                                                                                pornography they believed
    Ahead of the Trend: Insight into the evolution of the                       could have been gleaned
    millennial generation                                                       from the Internet, according
    Watch Full Screen to Skip Ads                                               to the court document.

                                                                After obtaining a search
    warrant, NCIS ultimately discovered 78 images of children in pornographic poses or
    engaged in sex acts.




    Investigators told the court they believe videos and photos on the phone were created
    by Seerdon and show him engaged in sexual acts near a sleeping child in early January.

    NCIS began an initial investigation after a women reported she had been sexually
    assaulted by Seerdon at his hotel room on Joint Expeditionary Base Little Creek in
    Virginia Beach. The sailor was on temporary duty at the base.

    The woman told investigators she had gone out with Seerdon and blacked out after
    drinking alcohol, only remembering that he had been on top of her, according to the
    court document.

    She woke up at 4 a.m. and Seerdon told her they had had sex. Investigators said he
    dropped her off at a base gate and she reported the assault to a guard.


     National Security   Child Abuse   News   Travis J. Tritten   Department of Defense   Child Pornography

     Law   Pornography     Navy
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                          Exhibit 2
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                               AFFIDAVIT OF ROBERT A. MANZI

  STATE OF COLORADO                      )
  CITY & COUNTY OF DENVER                )
          BEFORE ME, the undersigned authority, personally appeared Robert A. Manzi. who

  after being first duly sworn, did depose and state as follows:

          1.     I am over the age of eighteen (18) years and have personal knowledge of the facts

  contained herein.

         2.      1 am. and at all times relevant was, the Vice President and Secretary of The

  Washington   Newspaper Publishing Company, LLC.

         3.      1 am executing this affidavit in connection with a lawsuit that was filed by

  Plaintiff Joseph Schmidt (hereinafter “Plaintiff’) against The Washington Newspaper Publishing

  Company,     LLC,    d/b/a   The    Washington     Examiner      (hereinafter   “Defendant”).   The

  aforementioned lawsuit is captioned Schmidt v. The Washing/on Newspaper Publishing

  Company, LLC cl/b/a The Washington Examiner, Case No. 50-201 8-CA-002509-XXXX-MB-AI,

  and is pending in the Circuit Court of the Fifteenth Judicial Circuit in and for Palm Beach

  County, Florida (hereinafter “subject lawsuit”).

         4.      The subject lawsuit arises out of an online news article that was posted on

  Defendant’s website on April 21, 2017 (“subject article”).

         5.      Defendant is a limited liability company that is organized under the laws of

  Delaware, and its principal place of business is located in the District of Columbia at 1152 15th

  Street. Northwest, Suite 200, Washington. D.C. 20005.

         6.      When the subject article was published, Defendant did not have any employees in

  the State of Florida, nor did it maintain any offices in Florida.
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          7.        Defendant did not dispatch any reporters to Florida in connection with the subject

  article, nor did it engage in any other newsgathering activities related to the subject article within

  the State of Florida. Rather, the subject article was authored, edited, and posted to Defendant’s

  website by individuals working out of Defendant’s office in the District of Columbia.

          8.        Moreover, since the subject article was posted to Defendant’s website, it has been

  freely and equally accessible to all internet-using members of the public, regardless of the state

  in which they reside. At no point were visitors required to pay for access to the subject article,

  nor were they required to subscribe to Defendant’s website in order to view the subject article.

  In fact, at all times pertinent, Defendant’s website did not have any paid subscribers.

          9.        At all times pertinent, visitors were not able to post any comments on Defendant’s

  website relating to any of Defendant’s articles, including the subject article.

          FURTHER THE AFFIANT SAYETH NAUGHT.


                                                         /

                                                         Robert A. Ma’zi

  Sworn to and subscribed before me
  this ii day of May, 2018.
                                                                           CAROL 3 MIUOTES
                                                                            NOTARY PUBUC
     F”                 -   -                                            SIATh OFCOWRADO
    (               I                                                   NOTARY ID 19874137349
                                                                     COMM ISSION EXPIRES AU GU ST 1, 2020

  Notary Public’i

  My Commission Expires:         C. w.o. ‘ç




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